Dear Secretary Carnahan:
This opinion letter responds to your request dated March 6, 2008, for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition submitted by Todd Jones (version 3).
We conclude that the petition must be rejected for the following reasons:
  1. The petition contains a ballot title other than an official ballot title prepared by the Secretary of State pursuant to the provisions of Section 116.180, RSMo 2000.
  2. The petition does not contain "all new matter shown underlined" as required pursuant to Section  116.050, RSMo 2000.
  3. The enacting clause, required pursuant to Article III, Section 50 of the Missouri Constitution, is on the face of the petition, separated from the text of the measure.
Because of our rejection of the form of the petition for the reasons stated above, we have not reviewed the petition to determine if additional deficiencies exist. Pursuant to Section 116.332.3, RSMo, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
       Very truly yours, __________________________ JEREMIAH W. (JAY) NIXON Attorney General *Page 1 